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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

BONNIE FISH, et al.,
                                                        Case No. 09 cv 1668
               Plaintiffs,
                                                        Judge Jorge L. Alonso
        v.
                                                        Magistrate Judge Maria Valdez
GREATBANC TRUST COMPANY, et al.,

               Defendants.

  DEFENDANTS LEE MORGAN’S, ASHA MORAN’S, AND CHANDRA ATTIKEN’S
          NOTICE REGARDING PLAINTIFFS’ TRIAL EXHIBITS

       As explained during the October 28, 2015 hearing, Defendants Lee Morgan, Asha Moran,

and Chandra Attiken (the “Individual Defendants”) believe that the remaining exhibits on

Plaintiffs’ Trial Exhibit List that are not Joint Exhibits are potentially objectionable at trial at

least pursuant to Federal Rule of Evidence 802, depending on the manner in which they are used

and the purposes for which Plaintiffs seek to have them admitted into evidence. Outside of the

context of trial, the Individual Defendants do not believe they can accurately state whether they

will or will not object to a particular exhibit on hearsay grounds (though Individual Defendants

reiterate that they do not intend to object unless necessary).

       In order to limit the number of potential objections, however, and in the spirit of the

Court’s desire to limit evidentiary objections at trial, the Individual Defendants have reviewed

Plaintiffs’ Trial Exhibit List and identified the following potentially objectionable documents

that the Individuals Defendants will not object to at trial of this matter. The Individual

Defendants plan to meet and confer with Plaintiffs and may add additional documents to this list.
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PX-    MOR000162 –     06/01/00   Employee Stock Ownership Plan Summary Plan     360
0024   177                        Description Effective June 2000


PX-    TAC-CC-         12/21/01   E-mail from Mizen re: Competencies             480
0057   0231374 - 76

PX-    D&P_A0007935 01/01/02      Chart of Creative Memories upper management    445
0064

PX-    MOR0013896 -    02/28/02   E-mail from Morgan re: Too Much of Lee's       379
0068   939                        stuff

PX-    MOR0013782 -    05/21/02   E-mail from Morgan re: More Lee's Stuff        387
0073   95
PX-    MOR0013713      08/20/02   E-mail from Morgan re: Antioch Company info    388
0076                              from Lee Morgan

PX-    MOR0010097 -    01/01/03   ESOP Distribution Rules for Terminations       349
0098   100                        January 1, 2003 - September 30, 2006

PX-    DT2724 - 26     01/10/03   E-mail from Holthaus re: sub S/ESOP "summit"   297
0100


PX-    DT2375          01/21/03   Sub S/ESOP "Summit" January 21, 2003           298
0102                              Agenda


PX-    HL001690        03/01/03   Resume of Chandra Attiken                      401
0108
PX-    TAC-CC-         06/12/03   Memo, Re: June 12 Meeting Notes                106
0128   0445715 - 17

PX-    TAC-CC-         06/23/03   E-mail from Morrison re: ESOP Trustee          230
0133   0445758 - 59               Alternatives

PX-    DT1724          08/02/03   E-mail from Holthaus re August 6th             6
0155                              Conference Call

PX-    2407            08/14/03   E-mail from Blair re: 100% ESOP Due            232
0172                              Diligence - IMPORTANT



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PX-    TAC-CC-         08/15/03   E-mail from Blair re: Due Diligence Meetings    488
0174   0261822 - 24               Thursday August 21 & Friday August 22-
                                  FOLLOW-UP

PX-    GBT03516        08/25/03   E-mail from Williams re: Information Request    200
0191                              List
PX-    HL008274        08/25/03   Email from Williams re Additional information   620
0192                              request
PX-    002331-002336   09/04/03   E-mail from Blair re: Due Diligence with        233
0212                              attachments

PX-    HL006470-86     09/04/03   Email from Blair re Projections                 624
0213
PX-    JPMC0001 - 48   09/27/03   Credit Analysis Memorandum                      478
0238
PX-    HOSKINS         10/13/03   Review of Original Proposed Transaction for     78
0262   0051-72                    the Antioch Company to GreatBanc Trust
                                  Company
PX-    D&P_A005611     10/13/03   E-mail from Morrison re: Antioch/ESOP           124
0265                              Transaction Proposal

PX-    D&P_A005613     10/13/03   E-mail from Williams re: Antioch Proposals      125
0266   - 14
PX-    D&P_A005615;    10/14/03   E-mail from Marchetti Re: GreatBanc Trust       84
0268   D&P_A000039                Company
PX-    TAC-CC-         10/14/03   E-mail from Blair re: GreatBanc Trust           239
0269   0278977 -80                Company
PX-    D&P_A005621     10/15/03   E-mail from Bloom re: Antioch Proposal          126
0272
PX-    D&P_A005630     10/16/03   E-mail Nancy Blair re: Current Proposal         14
0276
PX-    D&P_A005630     10/16/03   E-mail from Blair re: Current Proposal          127
0279
PX-    TAC-CC-         10/17/03   E-mail from Blair re: Current Proposal          241
0284   0410938 - 39
PX-    TAC-CC-         10/18/03   E-mail from Blair re: Current Proposal          209
0285   0410933 - 35
PX-    TAC-CC-         10/21/03   E-mail from Blair re: The latest                210
0291   0196119
PX-    D&P_A005633-    10/22/03   E-mail from Morrison RE: Current Proposal       15
0293   34


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PX-    D&P_A005635-    10/22/03   E-mail from Marchetti re: Current Proposal      16
0294   36
PX-    D&P_A005633     10/22/03   E-mail from Morrison re: Current Proposal       128
0297   - 34
PX-    D&P_A005635     10/22/03   E-mail from Morrison re: Current Proposal       129
0298   - 36
PX-    D&P_A006368     10/22/03   E-mail from Williams re: FMV Adjustment for     243
0300   - 69                       Tax Savings

PX-    HL000871        10/26/03   E-mail from Blair re: Finalized Deal Terms      245
0305
PX-    HOSKINS         10/27/03   Preliminary Review of Proposed                  79
0307   0073-151                   Recapitalization of the Antioch Company
                                  presentation to GreatBanc

PX-    TAC-CC-         11/04/03   E-mail from Blair, re: Tender Offer-            65
0325   0412467-68                 Outstanding Items

PX-    MOR0048931 -    11/08/03   E-mail from Morrison re: ESOP Distribution      212
0336   33                         Outline

PX-    MM0021038 -     11/08/03   E-mail from Morrison to Ng re RE: Antioch,      501
0337   39                         ESOP amendment

PX-    MOR0053058      11/10/03   Email from Matthews re: Tender Offer, Sub       504
0341   &                          Note, Warrant and Equity Holders Agreement--
       MOR0053377 -               Revised Drafts
       86
PX-    HL000736-37     11/10/03   Email from Jackson re Tender Offer, Sub Note,   629
0342                              Warrant and Equity Holders Agreement—
                                  Revised Drafts

PX-    TAC-CC-         03/02/07   Minutes of ESOP Advisory Committee via          403
0347   0235706                    Teleconference

PX-    1997            11/18/03   E-mail from Mason-Sebastian re: 100% ESOP       405
0357                              Video Conference Meeting

PX-    MOR001421-22    11/24/03   E-mail from Hansen re: Letter to Potential      214
0365                              Retirees

PX-    N/A             12/05/03   Christopher Mino Voting Instruction Form        187
0393



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PX-    GB-              12/05/03   E-mail from Ackerman to Marchetti re FW:       502
0395   SOL0001530 -                Antioch Closing Checklist. Attachment:
       35                          WDC99_823490_3.DOC
PX-    MWE-0066705      12/08/03   Memo from Ackerman re: Antioch Company         509
0397   - 07                        Tender Offer -- Legal Opinions Requested by
                                   ESOP Trustee



PX-    HOSKINS          12/09/03   Memorandum to GreatBanc Trust Company,         77
0400   0044-47                     from LSB/JAW, Re: Update to Preliminary
                                   Review of Proposed Recapitalization of the
                                   Antioch Company

PX-    MOR0043567       12/16/03   Attiken's ESOP transaction letter              402
0420

PX-    2477             12/16/03   Letter from Morgan re: ESOP transaction and    487
0421                               funds wired to Mizen

PX-    MM0009071 -      12/16/03   Email from Matthews re: ESOP Amendment         505
0422   77
PX-    MM0019030        12/16/03   E-mail from Holthaus re: Lees cashflow         550
0424
PX-    BD-SOL-          12/18/03   E-mail from Lee Morgan to Marilyn Marchetti,   35
0425   0001000                     Re: Antioch ESOP Trustee


PX-    PRA00019         01/01/04   Retirees over $1 million and Terminees         260
0453
PX-    MOR001928 -      01/16/04   The Antioch Company Monthly Narrative          216
0461   29
PX-    MOR0048573 -     04/15/04   Lee's Monthly Narrative                        174
0479   48736
PX-    MOR001930 -      07/15/04   Lee's Monthly Narrative                        139
0497   31
PX-    ASP000307        07/22/04   Blair resignation letter                       227
0498
PX-    ASP000303 - 07   07/22/04   Minutes of the Antioch Company Board of        228
0499                               Directors Meeting

PX-    CHA00003 - 4     11/19/04   Fax of Bank One Middle Market Large Deal       477
0522                               Credit Approval Package



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PX-    MOR0048655 -     04/21/05   2004 Highlights Presentation                     138
0545   72
PX-    RTC00046 - 53    08/12/05   Revolving Credit Loan Agreement                  330
0564
PX-    HOSKINS 0001     07/10/06   Resignation letter to ESOP committee from        38
0618                               Hoskins
PX-    MWE-0101268      07/13/06   Letter re: Transfer of Assets                    522
0620
PX-    HOSKINS 0002     08/01/06   Hoskins Resignation Letter to Lee, Asha &        47
0622                               Chandra
PX-    TAC-CC-          08/17/06   Offer to Exchange                                289
0625   0220525 - 47
PX-    HOSKINS 0003     09/14/06   Resignation letter to Antioch's ESOP             48
0629                               committee, from Hoskins

PX-    HL067995 -       09/15/06   Acceptance by Trustee                            295
0630   HL068004
PX-    MOR0048741       04/26/07   April/May E-O Meetings Agenda                    137
0689
PX-    CP-002869        06/28/07   E-mail from Pollack re: Meeting follow up        527
0700
PX-    CP-003744 - 52   06/29/07   E-mail from Pollack re: Staffing Information     526
0702
PX-    RTC00001 - 03    08/23/07   Letter from Reliance                             322
0712
PX-    TAC-CC-          08/27/07   E-mail from Morgan re: Engagement agreement      529
0713   0445635                     continued
PX-    CP-000928 - 29   11/09/07   E-mail from Pollack re: Response to Marsha's     544
0729                               letter
PX-    TAC-CC-          05/07/08   E-mail from Wilson re: My Future Plans           294
0779   0330992
PX-    EVL03821         04/23/09   Minutes of the Trust Committee of the Board of   700
0810                               Directors of Evolve

PX-    N/A              01/22/10   Hardman's Responses to Defendants' First Set of 184
0824                               Interrogatories

PX-    N/A              12/09/10   Woosley's Supplemental Responses to              154
0828                               Defendants' First Set of Interrogatories




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 PX-      N/A                 12/09/10      Hardman's Supplemental Responses to                   185
 0829                                       Defendants' First Set of Interrogatories

 PX-      N/A                 12/09/10      Plaintiff Christopher Mino's Supplemental             188
 0830                                       Responses to Defendants' First Set of
                                            Interrogatories

 PX-      N/A                 12/15/10      Woosley's Responses to Defendants' Second Set         155
 0831                                       of Interrogatories

 PX-      N/A                 12/15/10      Hardman's Responses to Defendants' Second Set 186
 0832                                       of Interrogatories

 PX-      N/A                 12/15/10      Plaintiff Christopher Mino's Responses to             189
 0833                                       Defendants' Second Set of Interrogatories

 PX-      N/A                 06/11/12      A. Moran's LinkedIn profile as printed on             443
 0852                                       6/11/12
 PX-      N/A                 01/13/15      Mizen's LinkedIn Profile                              479
 0860
 PX-      HL001681 - 682      N/A           Lee Morgan Curriculum Vitae                           378
 0941
 PX-      MOR0015178 -        00/00/2003 Quarterly Reports to Employee Owners                     161
 0946     82                             Speaking Points


        The Individual Defendants reserve the right to object at trial to any of the remaining

exhibits on Plaintiffs’ Trial Exhibit List that are not listed above or included on the Parties’ Joint

Exhibit List, depending on the manner in which they are used and the purposes for which

Plaintiffs seek to have them admitted into evidence. The Individual Defendants further reserve

the right to amend this list should any exhibit have been inadvertently identified in the list above.


                                                    Respectfully submitted,

                                                    /s/Michael L. Scheier
                                                    Michael L. Scheier
                                                    Brian P. Muething
                                                    Anthony M. Verticchio
                                                    Jacob D. Rhode
                                                    Keating Muething & Klekamp PLL
                                                    One East Fourth Street, Suite 1400

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                                        Moran, and Chandra Attiken




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                                  CERTIFICATE OF SERVICE

            I hereby certify that on October 30, 2015, I caused true and correct copies of the

foregoing to be filed electronically using the Court’s CM/ECF system and to thereby be served

upon all registered participants identified in the Notice of Electronic Filing in this matter on this

date. This document is available for viewing and downloading on the CM/ECF system.



                                                              /s/ Michael L. Scheier
                                                                Michael L. Scheier



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